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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division – In Admiralty

ATLANTIC SPECIALTY INSURANCE COMPANY,

       Plaintiff,

v.                                                          Civil Action No. 3:21-cv-00002

BOGDAN ANDREI BINDEA,

      Defendant.
_______________________________________________

BOGDAN ANDREI BINDEA,

       Third-Party Plaintiff,

v.

JOHN UHR,

ASAP INSURANCE AGENCY,

and

USG INSURANCE SERVICES, INC.

       Third-Party Defendants.

        PLAINTIFF’S/COUNTERCLAIM DEFENDANT’S ANSWER, DEFENSES
         AND AFFIRMATIVE DEFENSES TO DEFENDANT’S/THIRD-PARTY
                       PLAINTIFF’S COUNTERCLAIM

       COMES NOW the Plaintiff/Counterclaim Defendant, Atlantic Specialty Insurance

Company (“ASIC”), by and through counsel, and for its Answer to Defendant’s/Third-Party

Plaintiff’s Counterclaim, respectfully states as follows:

                                             PARTIES

       1.      Admitted

       2.      Admitted

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       3.      The allegations in Paragraph 3 do not pertain to ASIC and therefore no response is

required.

       4.      The allegations in Paragraph 4 do not pertain to ASIC and therefore no response is

required.

       5.      The allegations in Paragraph 5 do not pertain to ASIC and therefore no response is

required.

                                       JURISDICTION

       6.      Admitted.

       7.      Paragraph 7 is a conclusion of law that does not pertain to ASIC and therefore no

response is required.

       8.      Paragraph 8 is a conclusion of law to which no response is required.

       9.      Paragraph 9 does not pertain to ASIC and therefore no response is required.

       10.     Admitted.

       11.     Paragraph 11 is a conclusion of law that does not pertain to ASIC and therefore no

response is required.

                                    OPERATIVE FACTS

       12.     ASIC lacks sufficient information to admit or deny the allegations in paragraph

12, except it is admitted Bindea is the owner of the M/V BOB ROUSE.

       13.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

13, which do not pertain to ASIC.

       14.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

14, which do not pertain to ASIC.




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       15.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

15, which do not pertain to ASIC.

       16.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

16, which do not pertain to ASIC.

       17.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

17, which do not pertain to ASIC.

       18.     Denied.

       19.     Denied as stated. ASIC admits it issued the policy of marine insurance, including

P&I and Hull & Machinery coverage attached as Exhibit G, but states that this coverage was

issued based on the insurance applications and marine survey, Exhibits D, E, and F to the

Complaint, which were incorporated by reference and which Bindea now claims were fraudulent.

       20.     Admitted.

       21.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

21, which do not pertain to ASIC.

       22.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

13, which do not pertain to ASIC, except that the Certificate of Insurance was issued without the

knowledge or consent of ASIC, does not accurately reflect the contents of the Policy, and which

was seen by ASIC for the first time when Bindea filed his Counterclaim.

       23.     Denied to the extent Bindea claims the insurance policy contains any terms or

provisions not reflected in Exhibit G or the applications and survey contained in Exhibits D, E

and F to the Complaint. Admitted the Policy attached as Exhibit G to the Complaint shows a

policy period from March 20, 2020 to March 20, 2021.




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       24.      Denied as stated. The Policy attached as Exhibit G to the Complaint was

delivered to Bindea’s agent when it was issued, and Bindea is accordingly presumed to have

knowledge of its contents. Bindea has further admitted to having received a copy of the policy

when it was issued. Counterclaims and Third-Party Complaint, ¶¶ 8 and 9.

       25.      ASIC lacks sufficient information to admit or deny the allegations in paragraph

25 as to Uhr, ASAP, or USG. Paragraph 25 is denied as to ASIC inasmuch as the applications,

Exhibits D and F to the Complaint, which were submitted to ASIC by Bindea’s agent, expressly

state first that the Vessel would be operated within the east Coast of Florida and second only in

Ft. Lauderdale, Florida, and did not disclose the Vessel would be operated in Haiti.

       26.     Denied as stated. ASIC has no knowledge as to Bindea’s actual knowledge of the

contents of the Application or Supplemental Application, but said applications were submitted to

ASIC by his agent and with Bindea’s actual or apparent authority, and Bindea is presumed to

have knowledge of the actions of his agent and is bound by said actions. Admitted that the

applications, Exhibits D and F to the Complaint, contain multiple materially false and misleading

statements of fact.

       27.     Denied as stated. ASIC is unable to admit or deny what was known by Uhr,

ASAP or USG, but admits the policy it issued, Exhibit G to the Complaint, includes said

navigational warranties, and ASIC states further the breach of said warranties are not the sole

reasons for which ASIC seeks to deny coverage.

       28.     Denied as stated. ASIC has no knowledge of the actions of Uhr, ASAP or USG.

Bindea received the policy attached as Exhibit G to the Complaint when it was delivered to his

agent, and he has admitted receiving a copy of the policy. Counterclaims and Third-Party

Complaint, ¶¶ 8 and 9.


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       29.     Denied as stated. ASIC has no knowledge of the actions of Uhr, ASAP or USG,

but the policy as issued to Bindea’s agent and actually received by Bindea expressly states that

coverage would be suspended if the Vessel breached the navigation warranty.

       30.     ASIC lacks sufficient information to admit or deny the allegations in paragraph

30.

       31.     Denied as stated. ASIC admits the policy attached as Exhibit G includes the

quoted language regarding “Coverage Territory,” but the “Coverage Territory” was further

limited by the Navigational Warranties contained in the policy.

       32.     Denied.

       33.     Denied as stated. ASIC has no knowledge of the Certificate of Insurance, did not

create or authorize creation of the Certificate of Insurance, and did not see the Certificate of

Insurance prior to receiving the Counterclaims and Third Party Complaint in this action.

       34.      Denied as stated. ASIC has no knowledge of the actions of Uhr, ASAP or USG.

Bindea received the policy attached as Exhibit G to the Complaint when it was delivered to his

agent, and he has specifically alleged receiving a copy of the policy when it was delivered to him

in Charlottesville. Counterclaims and Third-Party Complaint, ¶¶ 8, 9.

       35.      Denied as stated, but admitted the Policy attached as Exhibit G to the Complaint

includes the language quoted in Paragraph 35.

       36.      Denied as stated. Bindea received the Policy attached as Exhibit G to the

Complaint when it was delivered to his agent, and he has specifically alleged receiving a copy of

the policy when it was delivered to him in Charlottesville. Counterclaims and Third-Party

Complaint, ¶¶ 8, 9.




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        37.        Denied. The Application and Supplemental Application, Exhibits D and F to the

Complaint, were delivered to ASIC by Bindea’s agent with Bindea’s actual or apparent authority

and expressly state the Vessel would have no more than 3 crew members. Bindea is presumed to

know and is bound by the representations and actions of his agent.

        38.     ASIC lacks sufficient information to admit or deny the allegations in paragraph

38.

        39.        ASIC lacks sufficient information to admit or deny the allegations in paragraph

39, but admits this is consistent with the information reported to ASIC by Bindea’s

representatives.

        40.     ASIC lacks sufficient information to admit or deny the allegations in paragraph

40.

        41.     Denied.

      COUNT I: DECLARATION THAT COVERAGE EXISTS FOR THE INCIDENT

        42.     ASIC incorporates its responses to the foregoing allegations by reference as if

fully set forth herein.

        43.        Admitted.

        44.        Denied. The Navigational Warranties simply narrow the coverage otherwise

available under the Policy, but in any event, nowhere does the Policy attached as Exhibit G to the

Complaint suggest coverage is available in Haiti.

        45.        Denied. The Policy attached to the Complaint as Exhibit G, and which was

delivered to Bindea’s agent, and which was also delivered to Bindea by his own admission,

expressly states coverage would be suspended should the Vessel sail outside the limits in the

Navigation Warranties.


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        46.      Denied as stated. ASIC accepted premiums for the coverage which was requested

and which it agreed to provide. ASIC never agreed to provide insurance for a vessel with a crew

of 7 operating in Haiti and otherwise operating in violation of US law, and no such coverage

exists in the contract of insurance entered into by ASIC.

        47.      Denied. Further, breach of the Navigation Warranties is not the sole reason

coverage does not exist under the Policy attached as Exhibit G to the Complaint, and the policy

is further void ab initio.

        48.     Denied as stated. The quoted language is incomplete and intentionally misleading

inasmuch as the complete paragraph reads as follows:

        The Vessels is held covered in case of any breach of conditions as to cargo, trade,
        locality, towage, or salvage activities, or date sailing, or loading or discharging
        cargo at sea provided (a) notice is given to the Under-writers immediately
        following receipt of knowledge thereof by the Insured and (b) any amended terms
        of cover and any additional premium required by the Underwriter are agreed to
        by the Insured.

Exhibit G, at ASIC 0033 (emphasis added).

        49.      Denied as stated. As referenced in paragraphs 13, 14, 15, 25, 39, 52, 62, 63, and

69 of his Counterclaim and Third Party Complaint, Bindea was well aware the Vessel would

operate in Haitian waters from before the time he sought coverage for the Vessel, but neither

when he applied for a policy of marine insurance nor any time prior to the casualty did Bindea or

his agent provide such information to ASIC.

              COUNT II: NEGLIGENCE (ALL THIRD PARTY DEFENDANTS)

        50.      ASIC incorporates its responses to the foregoing allegations by reference as if

fully set forth herein.

        51.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

51, which do not pertain to ASIC.

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        52.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

52, which do not pertain to ASIC.

        53.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

53, which do not pertain to ASIC.

        54.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

54, which do not pertain to ASIC.

 COUNT III: BREACH OF FIDUCIARY DUTY (ALL THIRD-PARTY DEFENDANTS)

        55.     ASIC incorporates its responses to the foregoing allegations by reference as if

fully set forth herein.

        56.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

56, which do not pertain to ASIC.

        57.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

57, which do not pertain to ASIC.

        58.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

58, which do not pertain to ASIC.

        59.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

59, which do not pertain to ASIC.

                            COUNT IV:
     NEGLIGENT MISREPRESENTATION (ALL THIRD PARTY DEFENDANTS)

        60.     ASIC incorporates its responses to the foregoing allegations by reference as if

fully set forth herein.

        61.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

61, which do not pertain to ASIC.



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        62.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

62, which do not pertain to ASIC.

        63.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

64, which do not pertain to ASIC.

        64.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

58, which do not pertain to ASIC.

        65.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

65, which do not pertain to ASIC.

        66.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

66, which do not pertain to ASIC.

                               COUNT V:
        NEGLIGENT FAILURE TO WARN (ALL THIRD PARTY DEFENDANTS)

        67.     ASIC incorporates its responses to the foregoing allegations by reference as if

fully set forth herein.

        68.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

68, which do not pertain to ASIC.

        69.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

69, which do not pertain to ASIC.

        70.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

70, which do not pertain to ASIC.

        71.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

71, which do not pertain to ASIC.

        72.     ASIC lacks sufficient information to admit or deny the allegations in Paragraph

72, which do not pertain to ASIC.

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       73.      ASIC lacks sufficient information to admit or deny the allegations in Paragraph

73, which do not pertain to ASIC.

       WHEREFORE, Plaintiff/Counterclaim Defendant, Atlantic Specialty Insurance

Company, prays the counterclaim be dismissed and that it have its costs, attorneys fees, and such

other and further relief as may be just and proper.

                            DEFENSES AND AFFIRMATIVE DEFENSES

       1. All allegations not expressly admitted are denied.

       2. Bindea has failed to state a claim against Atlantic Specialty Insurance Company for

             which relief can be granted.

       3. Bindea, either directly or through his authorized agents fraudulently induced Atlantic

             Specialty Insurance Company to enter into the written marine insurance contract, a

             copy of which is attached to the Complaint as Exhibit G, by submitting applications

             in the form of Exhibits D and F to the Complaint that contained materially false and

             misleading statements of fact, including the following:

                a. Bindea has been operating vessels for 25 years;

                b. The navigation limits for which coverage was requested was described as the

                    “Area Around Florida” in the first Application, then narrowed to “Ft.

                    Lauderdale, FLA.” in the Supplemental Application, Exhibits D and F to the

                    Complaint.

                c. The Vessel would have a crew of 3 persons and no other employees of Bindea

                    or third party personnel would be carried on board the Vessel; and

                d. The signatures on the Applications purporting be the signatures of Bindea are

                    forgeries.


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       4. Atlantic Specialty Insurance Company expressly relied to its detriment on the false

           and fraudulent representations set forth above and would have refused to issue any

           policy of marine insurance to Bindea had it been aware that such statements were

           false and fraudulent, or had it been aware the M/V BOB ROUSE would be operating

           in Haiti.

       5. Bindea’s claim for coverage under the policy is barred by his material breach of the

           policy and by the doctrine of unclean hands inasmuch as Bindea unlawfully placed

           the M/V BOB ROUSE, a documented vessel of the United States, under the

           command of a Haitian citizen in direct violation of U.S. law. See 46 U.S.C. § 8103

           and 46 C.F.R. § 15.720.

       6. The Policy is void ab initio because Bindea breached the duty of utmost good faith

           owed to Atlantic Specialty Marine Insurance Company under the general maritime

           law of the United States.

       WHEREFORE, Plaintiff/Counterclaim Defendant, Atlantic Specialty Insurance

Company, prays the counterclaim be dismissed and that he have his costs, attorneys fees, and

such other and further relief as may be appropriate.

       Respectfully submitted on March 3, 2021.


                                             ATLANTIC SPECIALTY
                                             INSURANCE COMPANY,

                                             By:        /s/ David N. Ventker
                                                        Of Counsel

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